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                                                                         8                                   UNITED STATES DISTRICT COURT
                                                                         9                                NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   ATHENA FEMININE TECHNOLOGIES                         No. C-10-4868-SBA (DMR)
                                                                              INC.,
                               For the Northern District of California




                                                                         12            Plaintiff,                                  ORDER RE SEALED TRANSCRIPT
                                                                         13          v.
                                                                         14   DEREK WILKES, ET AL,
                                                                         15               Defendants.
                                                                              ___________________________________/
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                                                                         17          On July 19, 2013, the undersigned held a settlement conference in the above matter, and a
                                                                         18   confidential agreement was placed on the record following that day’s conference. The undersigned
                                                                         19   hereby ORDERS that any transcript of that proceeding be filed and maintained under seal.
                                                                         20          However, the court reporters are directed to provide counsel for any party in this matter with
                                                                         21   a transcript of that day’s proceedings upon their request and without further order.
                                                                         22          IT IS SO ORDERED.
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                                                                         24   Dated: July 19, 2013
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                                                                                                                                   DONNA M. RYU
                                                                         26                                                        United States Magistrate Judge
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